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Attorneys for Plaintiff Prelude Systems, Inc. D/B/A DemandBlue

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SNATA ANA DIVISION

PRELUDE SYSTEMS, INC. d/b/a/ CASE NO.:
DEMANDBLUE, a California

corporation,
COMPLAINT FOR:
Plaintiff,
1) BREACH OF CONTRACT
V. 2) COMMON COUNTS

WATCH COMMUNICATIONS d/b/a } Demand for Trial by Jury
W.A.T.C.H. TV COMPANY and

WATCH TV, BENTON RIDGE

TELEPHONE COMPANY, and

DOES 1-10, inclusive,

Defendants.

Plaintiff, Prelude Systems, Inc. D/B/A DemandBlue (hereinafter

referred to as the “Plaintiff’), complains against each of the above-captioned
Defendants, (1) Watch Communications d/b/a W.A.T.C.H. TV Company and

WATCH TV (hereinafter referred to as “Watch”), (2) Watch is a subsidiary of

Defendant Benton Ridge Telephone Company (hereinafter referred to as

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“Benton’), and (3) DOES 1-10, inclusive (hereinafter collectively referred to
as the “Defendants”) and avers as follows:
SUMMARY

1. This action involves a breach of contract on the part of the
Defendants, and some of them. The contract was for the Plaintiff to, among
other things (1) setup of the CPQ managed package and associated settings
for Quote to Order process for Watch, (2) configuration of CPQ specific
product pricing functionality and CPQ Product/Price Rules for Watch, (3)
creation of one standard Quote template to generate a client facing PDF file
using the standard Salesforce CPQ Template engine for Watch, and (4) for
migration of existing customer data to include products, pricing, discounts,
and invoicing schedules into the Salesforce Billing platform. assignee and
owner of said obligations.

JURISDICTION AND PARTIES

2. This Court has original jurisdiction over this action under 28
U.S.C. §1332, in that diversity of citizenship exists between the parties and
the matter in controversy exceeds the sum value of $75,000.00, exclusive of

interest and costs.
a: Plaintiff is a California corporation with its principal place of

business in Irvine, California.

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4. Plaintiff is informed and believes, and upon said information and
belief alleges that Defendant Watch is an Ohio corporation with its principal
place of business at 1805 N. Dixie Highway, Lima, Ohio 45801.

5. Plaintiff is informed and believes, and upon said information and
belief alleges that Defendant Benton Ridge Telephone is an Ohio
corporation and parent company of Watch with its principal place of business
at 1805 N. Dixie Highway, Lima, Ohio 45801 (sometimes referred to herein

as “Benton”).

6. Plaintiff is informed and believes, and upon said information and
belief alleges that Defendant Watch was founded in 1992. Watch is a
wireless communications company specializing in Wireless Broadband
Internet, Fiber Internet, TV, Hosting and VoIP Phone Services to both
residential and business customers. Watch began as a Cable TV Provider
and expanded service offerings at the beginning of the broadband internet
revolution in 1998 to include internet. Watch focused on un-served and
underserved small and rural markets throughout Indiana and Ohio

Te This Court has personal jurisdiction over Watch. Watch
executed a written contract for services to be provided by Plaintiff this District
and this action arises from Watch's knowing and intentional breach of certain
contractual and common law obligations owed to Plaintiff while acting within

and causing injury within this State and District.

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8. This Court has personal jurisdiction over Benton. Benton is the
parent company which owns Watch.

9. This Court has personal jurisdiction over Defendants sued as
DOES 1-10. Plaintiff is informed and believes, and upon said information
and belief alleges that DOES 1-10 aided and abetted Defendants Watch and
Benton in breaching the written contract with Plaintiff and benefitted in some
way from said breach.

10. Pursuant to 28 U.S.C. § 1391(b)(2), venue is proper in this
District in that a substantial part of the events or omissions giving rise to this
action occurred in this District. Further, the written contract at issue was
executed in this District and substantially all of the services to be provided
under the written contract were to be performed in this District.

11. A-substantial part of the events or omissions giving rise to this
claim took place within Orange County, which is within the Santa Ana
division of the United States District Court, Central District of California, and
venue is invoked pursuant to 28 U.S.C. §1391(b)(2).

FACTUAL BACKGROUP

12. Plaintiff repeats and realleges each and every allegation set forth

in the paragraphs above as if fully set forth herein and incorporated the

same herein as if ser forth in full.

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13. Plaintiff Prelude System is the provider of technology services
that specializes in digital transformation for app transformation, cloud
migration, and business integration. Plaintiffs expertise is in its consulting
and distribution expertise.

14. Under the trade name “DemandBlue’ Plaintiff operates in the
business of helping its customers maximize their Salesforce investment
through predictable outcomes. DemandBlue has pioneered “Service-as-a-
Service” through a value-based On Demand Service model that drives
bottom-line results. As such it offers its customers speed, value, and
success to achieve their current and future business objectives.

15. Onor about November 13, 2023, Plaintiff and Defendant Watch
executed a written contract called the Mutual Non-Disclosure Agreement. At
the same time, Plaintiff and Defendant Watch executed a written contract
called the Statement of Work. Attached hereto as Exhibits “A” and “B,” and
by this reference incorporated herein as if set forth in full, are true and
accurate copies of the Mutual Non-Disclosure Agreement and the Statement

of Work.
16. Pursuant to the Mutual Non-Disclosure Agreement and the

Statement of Work, Plaintiff was to, among other things (1) setup of the CPQ
managed package and associated settings for Quote to Order process for

Watch, (2) configuration of CPQ specific product pricing functionality and

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CPQ Product/Price Rules for Watch, (3) creation of one standard Quote
template to generate a client facing PDF file using the standard Salesforce
CPQ Template engine for Watch, and (4) for migration of existing customer
data to include products, pricing, discounts, and invoicing schedules into the
Salesforce Billing platform assignee and owner of said obligations.

17. Pursuant to the Mutual Non-Disclosure Agreement and the
Statement of Work Plaintiff immediately commenced work for Watch,
including, but not limited to an extensive review of Watch’s systems and
processed and began to implement integration of the Salesforce Billing
platform for Watch's use.

18. Beginning on or about November 13, 2023, Plaintiffs staff
personnel regularly communicated with Watch regarding the work required
to be performed under the Mutual Non-Disclosure Agreement and the
Statement of Work.

19. Watch failed to make any payments to Plaintiff under and
pursuant to the terms of the Mutual Non-Disclosure Agreement and the
Statement of Work. As a result, there is now due, owing, and unpaid

between Plaintiff and Defendant Watch the total sum of $312,401.2500.

Watch affirmed the contract with Plaintiff and paid Plaintiff $68,640.00

leaving a balance due to Plaintiff of $243,716.25.

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FIRST CLAIM FOR RELIEF
(Breach of Contract)

20. Plaintiff repeats and realleges each and every allegation set forth
in the paragraphs above as if fully set forth herein and incorporated the
same herein as if ser forth in full in this First Claim for Relief.

21. Asadirect and proximate result of the action of the Defendants,
and some of them, Plaintiff has been damaged in the amount of no less than
$243,716.25, plus interest and costs of suit, which amount continues to
increase per day according to proof.

22. Plaintiff has performed all covenants, conditions, and duties
under the Mutual Non-Disclosure Agreement and the Statement of Work on
its part to be performed except to the extent that they were excused from
performance thereunder by the breaches of Defendants, or some of them, asi
herein alleged, or according to proof.

SECOND CLAIM FOR RELIEF
(Common Counts — as against all Defendants)

23. Plaintiff repeats and realleges each and every allegation set forth
in the paragraphs above as if fully set forth herein and incorporated the
same herein as if ser forth in full in this Second Claim for Relief.

24. The Defendants and some of them, by virtue of the terms and

conditions of the Mutual Non-Disclosure Agreement and the Statement of

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Work, agreed to pay Plaintiff the reasonable value of the services to be

performed.

25. As of the date of this Complaint, the reasonable value of the
services provided to the Defendants and come of them is the sum of
$243,716.25, plus interest and costs of suit, which amount continues to
increase per day according to proof.

WHEREFORE, the Plaintiff respectfully prays for the judgment against
Defendants, and each of them, as follows:

A. For a principal payment totaling $243,716.25;

B. For interest, late fees, and other fees from November 13, 2023;

C. For reasonable attorneys’ fees according to proof and costs of suit
herein incurred;

D. For prejudgment interest; and

E. For such other further relief as this Court deeds just and proper.
Date: July 18, 2025 Respectfully Submitted,

JAMES ANDREW HINDS, JR.
THE HINDS LAW GROUP, APC

By: _/s/ James Andrew Hinds, Jr.
James Andrew Hinds, Jr.
Attorneys for Plaintiff

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DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury as to all issues.

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EXHIBIT “A”

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a
O@mMand MUTUAL NON-DISCLOSURE AGREEMENT

FOR SALESFORCE

This NON-DISCLOSURE AGREEMENT (“Agreement”) is effective as of November 9, 2023 executed by both parties
(the “Effective Date”) and is between Prelude Systems, Inc. D/B/A DemandBlue (“DEMANDBLUE”) a CA
corporation, with its principal place of business at 5 Corporate Park, Suite #140, Irvine, CA 92606, and Watch
Communications, with its principal place of business at 3225 W. Elm Street, Lima, OH 45805.

This Agreement sets forth the terms and conditions that will apply to any Confidential Information (as below
defined) disclosed by either party, itself or through its agents or affiliates, (“Discloser”) to the other party
(“Recipient”).

aL.

As used in this Agreement, Confidential Information means all information that Discloser discloses to Recipient:
a) in documents or other tangible materials clearly marked CONFIDENTIAL, PROPRIETARY, or the like;

b) orally, or in any other intangible form, if at the time of first disclosure to Recipient, Discloser informs
Recipient that the information is confidential;

c) regarding: (i) computer software, including, without limitation, codes, flowcharts, algorithms, menu layouts,
routines, report formats, data compilers, and assemblers; (ii) computer hardware systems, including,
without limitation, product specifications, processes and methods, quality assurance methods, and
accounting, billing, and telecommunications systems; (iii) product or service information, product
development plans, product strategy, and product delivery systems; (iv) marketing information, including,
without limitation, lists of potential or existing customers or suppliers, marketing plans, and surveys; (v)
financial information, including, without limitation, sales and revenue information and financial statements;
and (vi) business plans, policies, procedures, and information; or

d) that under the circumstances surrounding the disclosure Recipient knows or should know that it should be
held confidential. Confidential Information does not include information that Recipient can prove: (i) is or
becomes publicly known or readily ascertainable by the public, through no wrongful act of Recipient; (ii) it
received from a third party without breaching an obligation owed to Discloser; (iii) is independently
developed by or for Recipient; or (iv) was in its possession prior to it being furnished to Recipient by
Discloser.

Recipient agrees that Confidential Information of Discloser: (i) will not be disclosed to any person outside of
Recipient's organization, unless such disclosure is made pursuant to the lawful requirement of a court or other
governmental agency and may only be disclosed within Recipient's organization on a "need-to-know" basis; (ii)
will be treated with the same degree of care as similar information of Recipient is treated within Recipient's
organization; (iii) will not be used for the benefit of a third party; (iv) will only be used for the benefit of Discloser;
and (v) will remain the property of Discloser. Recipient will promptly return all materials containing Confidential
Information, and any copies thereof at Discloser's written request after termination of this Agreement, except
that Recipient's attorney may retain an archival copy indefinitely in a secure place. In the event that Recipient is
requested or required by law or the legal process to disclose any Confidential Information, Recipient will, unless
prohibited by law or the legal process, promptly notify Discloser of such request or requirement so that Discloser
may seek protective order or other remedy.

Recipient will promptly notify Discloser of any unauthorized disclosure or use of Confidential Information and
cooperate with the Discloser to prevent further unauthorized use.
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Discloser shall retain ownership of its Confidential Information. This Agreement does not grant Recipient any
rights in the Confidential Information. Recipient will not remove any confidential, proprietary, trade secret,
copyright, or other legend from any form of Confidential Information.

This Agreement does not: (i) restrict Recipient or Discloser from developing or acquiring new products or
services, improving existing products or services, or marketing any new, improved or existing products or
services so long as Discloser's Confidential Information is not used; (ii) commit Discloser to disclose any
particular information; or (iii) require Recipient or Discloser to develop, make, use, buy, sell, or otherwise acquire
or dispose of any existing or future product or service, or to favor or recommend any product or service of the
other party. To be binding, any such restriction or commitment must be in writing and signed by both parties.

This Agreement, and all claims arising out of or related to, will be governed by the laws of the State of California
without regard to the conflict of law’s provisions thereof.

This Agreement (i) is the complete agreement between the parties regarding the subject matter hereof; (ii) may
be modified only by a written instrument signed by both parties; and (iii) will not be deemed to have been
waived by any act or failure to act.

This Agreement will apply to disclosures made during the period of three years following the Effective Date. The
obligations of Recipient set forth in Section 2.0 will remain in effect for a period of five years following the date
of first disclosure. Confidential Information identified as a trade secret will be held in confidence for so long as

the information continues to be a trade secret.

Watch Communications (“CLIENT”) Prelude Systems, Inc. D/B/A DemandBlue
(“DEMANDBLUE”)

By : Chris Daniels By : Kiran Babu Chandra

Sign : Sign

Title : President and CEO Title : CEO

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EXHIBIT “B”

EXHIBIT “B”
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O@MOaANG: UG STATEMENT OF WORK

CoS FOR SALESFORCE
payExhibit-A

This Statement of Work (“SOW”) is made and entered as of November 9, 2023 (the “Statement of Work
Effective Date”) pursuant to the terms and conditions of the Master Services Agreement dated
November 9, 2023, by and between Prelude Systems, Inc. D/B/A DemandBlue (“DemandBlue”) and
Watch Communications (“Client”).

Target Start Date: 11/13/2023

Final Requirements: | 12/08/2023

Target End Date: | 02/29/2024

Service Type: | Salesforce CPO & Billing Implementation

Hourly Rate: | $120.00 per hour for onshore
$75.00 per hour for offshore

Total Estimated: | Est. 800 hours configuration, 200+ hours data migration

Location: | Offsite/Remote

Payment Terms: | NET 30 days

Invoicing Frequency | Every two weeks

Invoice To: | DemandBlue will send invoices to
payables@watchcomm.net

Others: | Any project expenses must pre-approved in writing by Client. All
travel to onsite and onsite accommodation to be covered by the
Client.

Scope of Work Overview:

Salesforce CPO QuickStart

Setup of the CPO managed package and associated

CPD Package Setup settings for Quote to Order process =
= Configuration of CPQ = specific product pricing
Preduce Picing functionality and CPO Product/Price Rules aA

Creation of one (2) standard Quote template to generate
Quote Template a client facing PDF file using the standard Salesforce 40
CPO Template engine

Quote Line Editor Setup of the OLE with pricing and discounting fields

Configuration displayed for Sales Reps to adjust pricing 20
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Salesforce Billing Implementation

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Billing Package Setup

Invoice Generation

OmniStudio Invoice
Templates

Invoice Scheduling

Self Service Invoice
Payments

Payment/Allocations

Tax Treatments

Revenue Rec/Finance
Books

Finance Reporting

Data Migration for
Existing Customers

Creation of default revenue flow and legal entities for
payment allocation within the Billing platform.

This involves configuring the system to generate
invoices based on specific triggers such as order
placement or delivery. It includes setting up invoice
templates and rules.

Implementing via OmniStudio up to 4 custom invoice
templates that display one-time and bundle products
w/pricing, discounts, taxes and call record details.

Automating invoice scheduling to reduce manual effort
setting up automated processes and workflows.

Setup of out of the box Self Service payment pages via
Lightning Payment Site (no login). Client required to
provide creative and Credit Card authorization gateway.

Implementing payment allocations, including credit
card payments & ACH. Configuring rules for allocating
payments to invoices.

Setup of standard Salesforce Billing tax treatments
provider would involve configuring tax rules and
ensuring accurate tax calculations on invoices.

Configuration of out of the box revenue recognition
rules, schedules, financial transactions, and GL
treatments.

Setting up financial reporting and invoice reports
creating custom reports and dashboards to track billing
performance and financial metrics.

Migration of existing customer data to include products,
pricing, discounts, and invoicing schedules into the
Salesforce Billing platform

40

80

100

40

80

40

40

60

20

200+*

*Data migration estimated based on current understanding of invoicing needs and details. Final scope to be provided
ajter data sample and total record counts provided by client.

Assumptions:
Client to provide eSignature account if required

Client to purchase & provide access to a compatible Credit Card Authorization provider

Client to provide all language for invoice terms & conditions
Client to provide sandbox environment to perform and review all work completed
DemandBlue to deploy changes to production org & ensure functional acceptance
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e Estimation is for the current scope of work; any extra effort or additional scope items will need prior
approval from the client
e Two-week warranty support period after project go-live

Out of Scope:
e Data Migration of existing records unless otherwise noted above in scope of work

e Advanced Approvals configuration
e Custom Development & Integration
e Updating existing automation processes

Project Resources: ee

| Be eyeg ati Gis Soo ais mere =|
Overall project owner sets schedule and ensures
deliverables are met. Serves as escalation point if there
are any scope or schedule changes.

Revenue Cloud Solution Architect Experienced Salesforce Revenue Cloud SA that will lead
primary discovery. Responsible for overall solution
design and scoping efforts.

Mice ige ee i Se GR eee,
Project Manager/CSM

CPO Consultant Business Analyst that will help in determining scope and
own creation of primary epics and user stories
CPO Developer(s) Technical resources tasked with assisting in solution

design and scoping efforts

Project Estimate — CPO & Billing Implementation:

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Esiae) 41g EF ANIL ee Mikey 2-1)

Architect: Discovery & Design Nov 13 — Dec 08 $12,000.00
Sprint 1: CPQ Configuration Dec 4-20 20 80 100 $8,400.00
Sprint 2: Billing Package Setup Jana-19 30 200 230 $18,600.00
Sprint 3: Billing Rul

pants lites, ules Be Jan 22-Feb og 30 200 230 $18,600.00
Invoices
D i : sales

- 2 ee - Feb 12-23 Client to own data migration of 200+ hours
Migration
UAT & Deployment Feb 12-23 $13,200.00

Hikes) a ctce) (cmp (exeeca Bela Ie) e-paCo) aha Pte U i irefe-La cel prertelos

*Client to take on data transformation & migration into CPO & Billing Platform

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Risks:
e Estimation and Timeline has been provided without having a final design.
e Data sample and total record count for data migration unknown.

Change Control Process:

e As additional scope items are added to or removed from the project these initiatives will be called
out by the DemandBlue Project Manager and added to the DemandBlue Customer portal or Client
as an Initiative.

e Each Initiative will be updated in the Client Portal with a Level of Effort and assigned to the Client for
review.

e Approved Change Requests will be billed at a rate of $120.00/$75.00 per hour based on resource
location.

e The Scoped Initiative is valid for 7 (Seven) days from the date of submission for Client review.

* Client is responsible for any follow-up questions as it pertains to the Level of Effort. If approved the
DemandBlue Project Manager will update the project scope and timeline to adjust for the newly
scoped item.

e Client can make changes to project scope without incurring additional costs if the total effort is not
changed and an item of equal scope is removed from the project.

e If rejected the scoped Initiative will remain in the Client Portal for future user or reference.

Terms & Conditions:

e DemandBlue requires a two-week lead time for resource alignment from the signature date.

e Should there be a delay in the review, approval, or rejection of project deliverables beyond two
business days, which leads to resource idle time, such change in the schedule will be submitted to
client via a project Change Request.

e Any additional items not covered under the scope of this project, identified during the project
otherwise will be analyzed as per DemandBlue’ change control process and its impact on the project
schedule & cost will be shared with client.

e DemandBlue will initiate the development of the changes upon the receipt of the approval to
proceed.

IN WITNESS WHEREOF, the parties have caused this Statement of Work to be executed as of the
Statement of Work Effective Date by their duly authorized representatives.

Watch Communications (“CLIENT”) Prelude Systems, Inc. D/B/A DemandBlue
(“DEMANDBLUE”)

By : Chris Daniels By : Kiran Babu Chandra

Sign : Sign

Title : President and CEO Title : CEO

Date : 41/13/2023 Date > 11/13/23

